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                           UNITED STATES DISTRICT COURT
                           SO U TH ER N DISTRICT O F FL O R ID A

                         CA SE N O .:17-23158-ClV -M AR TINE Z/A O R

  LA SHAW N M IDDLETON ,

         Plaintif:


  CA RN IV A L CO RPORA TION ,

         D efendant.
                                                      /

                                          ORDER
         THIS CAUSE 'cam e before the Court upon pro se Plaintiff Lashawn M iddleton's

  Ctplaintiff')M otionRequestingaPostponementofOrderto Show Cause(hereafter,GtM otionfor
  Postponemenf')ED.E.311.Thismatterwasreferred to theundersignedpursuantto28U.S.C.j
  636 by the Honorable Jose E.M m inez,United States DistrictJudge (D.E.24j. Upon due
  consideration,itis

         ORDERED AND ADJUDGED thatPlaintiY s M otion forPostponement(D.E.31) is
                     /
                     p

  DENIED. W ithiz 20 days from the date of this Order,Plaintiff shallfile a response in
  opposition to DefendantCarnivalComoration's(lr efendanf')M otion for Sllmmary Judgment
  ED.E.2% ipaccordancewithFederalRuleofCivilProcedure56.
        DONE AND ORDERED in Cham bersatM iam i,Floridathis /afday ofOctober,2018.



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                                           U N ITED STA TES M AG ISTM TE JU D GE
Case 1:17-cv-23158-JEM Document 33 Entered on FLSD Docket 10/01/2018 Page 2 of 2



  CopiesviaCM /ECF to:

  United StatesDistrictJudgeJose E.M artinez
  CotmselofRecord

  CopiesviaU .S.mailto:

  Lashawn M iddleton
  1924 ArborVistaDrive
  Charlotte,NC 28262
